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       Extra Trips
       Extra Trips (Network & Local - HCR & PVS):
         • No. of Extra Trips by Division (October)
             Division                  10/1 10/2 10/3 10/4 10/5 10/6 10/7 10/8 10/9 10/10 10/11 10/12 10/13 10/14 10/15 10/16 10/17 10/18 10/19 10/20 10/21 10/22 10/23 10/24 10/25 10/26 10/27 10/28 10/29 10/30 10/31
             CHESAPEAKE                  59 64 42 26 66 52 67 60 71                    86 200 144        86    78    68    70    67    52    74    70    68    87    81    91    49 105      76    91    83 100      90
             COASTAL SOUTHEAST          131 117 102 120 139 123 111 134 133 211 312 269 173 149 170 177 162 127 177 142 163 184 174 154 115 165 175 159 162 156 290
             ISC                          7    4    3    2    3 11      8 12      8     3     5     5     5     9     5     4     2     3     1     2     4     4     5     4     1     0     3     4     4     4     3
             LAKESHORES                  35 31 24 32 47 54 42 56 53                    34    62 141      82    91    71    75    72    38    74    71    76    85    92    50    65    96    91    95    87    86    73
             MID-ATLANTIC                20 29 38 42 45 30 28 30 39                    49 198 119        66    59    70    44    37    54    61    48    50    46    60    52    66    94    67    84    95    64 179
             MID-SOUTH                   38 38 16 36 46 44 34 50 40                    21    74 100      49    48    43    31    21    39    48    56    50    47    48    32    39    66    44    62    58    46 198
             MIDWEST                     30 34 29 53 44 39 49 53 47                    25 121      88    68    54    32    37    33    41    45    36    61    48    43    28    43    51    44    52    56    45    44
             NEW ENGLAND                 30 25 24 49 46 26 34 36 43                    41    50    95    62    49    39    54    63    65    71    35    46    39    40    70    64    72    42    60    44    68    80
             NEW YORK METRO              22 28 20 16 21 30 31 33 33                    18    46    94    80    52    41    44    44    50    40    38    41    37    44    38    29    38    35    48    43    43    39
             PACIFIC NORTHWEST           35 32 50 22 48 28 36 40 45                    68 174 211        75    50    48    38    45    39    64    26    24    32    36    47    46    40    24    32    36    46    74
             SOUTHERN CALIFORNIA         23 28 30 21 68 35 34 29 32                    35 117 247        62    36    63    53    55    33    57    44    54    38    29    33    24    35    26    30    24    33    59
             SOUTHWEST                   33 35 12 27 18 15 26 28 37                    32 114 141        45    26    32    30    33    54    39    24    34    26    37    40    66    56    28    38    46    37 121
             STC                         44 54 53 39 59 47 51 46 43                    48    80    49    58    67    59    36    65    43    48    58    47    59    53    58    47    47    48    48    53    46    44
             WESTSHORE                   20 15 21 22 31 23 22 22 17                    18    44    46    24    15     9    36    28    17    40    13    19    19    21    31    18    26    21    32    27    32    29
             Grand Total                527 534 464 507 681 557 573 629 641 689 1597 1749 935 783 750 729 727 655 839 663 737 751 763 728 672 891 724 835 818 806 1323




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             CHESAPEAKE                  86 88 76 68 70 86 62 32 73 227 154 103                          97    73    53    97    96    95    97 107 107        62 120 107 301 161 130 131                83 134
             COASTAL SOUTHEAST          238 184 141 110 144 132 167 144 171 337 309 169 154 170 139 190 166 160 158 180 222 155 250 177 355 194 243 346 284 402
             ISC                          1    1    3    5    3    4    1    2    2    12    19     3     3     1     1     3     3     5     4     4     1     3     5     3    11     8     4     1     4     4
             LAKESHORES                 176 80 88 78 67 82 51 57 63 146 146 104                          62    36    84 105      90 106      97 101      84 120 111 127 188 102 212                98 125 172
             MID-ATLANTIC               184 89 76 62 61 70 63 65 72 222 206 130                          83    45    90    97    54    65    63    87    95 123 107 108 314 147 170 150 130 120
             MID-SOUTH                  132 44 44 52 59 53 27 57 66 116 111                        77    57    42    64    76    65    67    73    70    73    79    83    60 110 159 122 145 104 116
             MIDWEST                    119 47 46 44 43 44 26 64 54 114 103                        62    54    28 118      88    68    74    71    65    51    88 103      94 135      95 123 174 161 178
             NEW ENGLAND                 88 50 56 41 34 46 78 78 69                    78 109      98    55    76    91    70    66    61    63    61    89 103 118 129 167 109 126 111                  98 124
             NEW YORK METRO              49 62 82 51 51 54 47 37 43 138 163                        88    77    43    54    99    49    53    81    90    84    79 105      93 129 110 120 105            68 106
             PACIFIC NORTHWEST          135 29 21 19 14 25 42 34 34 216 245                        32    37    28    47    47    20    34    63    64    54    72    65    54 197 171        97 132 164 142
             SOUTHERN CALIFORNIA         56 38 29 29 16 21 49 30 39 146 208                        40    35    53    28    42    43    51    47    39    78    53    61    64 187 144 134 103            73 103
             SOUTHWEST                  141 43 33 39 35 35 47 55 38 163                      94    56    45    54    56    62    39    49    44    67    82 116 105        64 194 118 159 168 155 179
             STC                         20 41 45 43 30 29 36 37 45                    53    89    63    59    38    35    48    47    54    48    47    40    41    47    54    75 108 134        84    74    66
             WESTSHORE                   36 34 28 32 30 26 24 23 30 112                      38    25    15    22    23    45    24    29    41    53    38    48    78    27    58    53    76    59    65    78
             Grand Total               1461 830 768 673 657 707 720 715 799 2080 1994 1050 833 709 883 1069 830 903 950 1035 1098 1142 1358 1161 2421 1679 1850 1807 1588 1924




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             CHESAPEAKE                 143    142    148    149    191    183    169    165    162 161 138 186 142 152 168 108 170 169 205 167
             COASTAL SOUTHEAST          372    373    430    475    512    474    514    490    465 546 516 571 555 619 529 534 555 449 521 563
             ISC                          9      7      7     11      9     11     10      8      9    10    11     4    12    17     5    14    17    17    10    16
             LAKESHORES                 135    144    167    157    166    161    190    182    188 184 184 194 188 245 216 187 197 234 235 170
             MID-ATLANTIC               110    122    125    126    177    235    207    140    150 147 168 270 281 187 172 169 161 178 269 297
             MID-SOUTH                  161    131    131    116    183    165    157    135    116 138 128 207 176 160 136 123 141 139 251 151
             MIDWEST                    185    188    167    169    178    138    172    192    178 193 207 218 177 223 217 225 209 229 240 184
             NEW ENGLAND                115    118    112    106    142    160    165    157    126 135 127 191 184 213 198 178 109 115 165 155
             NEW YORK METRO             107    105    121    100    159    195    208    190    205 203 177 207 238 223 251 200 176 198 258 272
             PACIFIC NORTHWEST          150    175    195    196    191    209    232    177    214 189 229 270 251 277 213 209 204 246 256 328
             SOUTHERN CALIFORNIA        103    115    111    117    158    124    152    137    167 161 182 184 193 142 122 162 164 218 267 333
             SOUTHWEST                  170    172    143    155    225    219    188    217    221 238 225 333 337 287 289 269 271 274 362 322
             STC                         79     79    103     81     95    105    198    126    133 138 160 153 173 205 157 177 164 160 150 148
             WESTSHORE                   65     49     62     81     84     67     98     94     61    61    50    46    75 102      60    51    41    52    53    87
             Grand Total               1904   1920   2022   2039   2470   2446   2660   2410   2395 2504 2502 3034 2982 3052 2733 2606 2579 2678 3242 3193




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             CHESAPEAKE                154    157    109     92    130    153 156 204 280 171         60 149 305 273 301 392 223 173 316 347 377 394 428 309 236 402 383 421 471 491 269
             COASTAL SOUTHEAST         189    157    123    105    178    201 185 215 417 208         88 114 298 351 378 427 233 256 387 377 371 357 420 218 291 317 412 453 419 461 223
             ISC                        11     16     11      7      8     10   19 12 10        13     4     4     6    12    13    13    16     9    10    14    13    14    10    18     8     9     9    12    19    19    18
             LAKESHORES                165    197    110     84    197    182 184 172 246 146         63 145 316 264 322 292 165 168 289 279 247 359 314 139 140 288 265 289 323 338 181
             MID-ATLANTIC               96    111     67     54    111    130 155 135 174       87    72    67 181 205 154 174 119 102 147 153 129 147 182 120 123 156 143 174 199 202 169
             MID-SOUTH                 209    261     82    191    224    191 185 193 260       84    77 190 250 235 279 296 141 207 181 254 190 173 221                            65 189 186 231 224 262 297 128
             MIDWEST                    36     35     29     27     34     36   38 24 66        23    20    27    68    77    57    48    23    39    50    44    44    55    74    35    36    58    75    55 104      73    62
             NEW ENGLAND                78     77     63     80    100    106   86 109 180      94    62    96 186 147 146 188            78 116 128 101 121 141 161                78 123 136 138 139 128 155 117
             NEW YORK METRO             70     74     68     41    112    121 100 100 110       91    40    51 132 127 128 107 122              61    75 109 100 126 107            90    65 102 109 117 102 146 100
             PACIFIC NORTHWEST          37     50     24     19     54     56   53 31 40        21     9    25    63    78    60    76    24    33    52    58    43    34    45    12    20    41    38    42    55    34    29
             SOUTHERN CALIFORNIA        58     72     27     41     70     81   79 56 106       38    12    34    86    91    80    73    46    26    70    75    76    83    60    35    29    65    52    70    60    74    31
             SOUTHWEST                  98    111     39     68     75    115 119 98 159        58    50    80 128 161 150 135            69    84 125 154 143 131 208              97 143 151 181 173 157 245 103
             STC                       128    162    134    116     96    210 206 192 214 178 112           63 137 227 236 222 203 135 111 198 202 231 214 183 145                              78 231 209 158 174 138
             WESTSHORE                  91    117     73     65    132    130 100 135 145       85    35    49 144 127 185 163 121 118 177 145 141 215 219 125                            71 158 173 117 187 201 142
             Grand Total              1420   1597    959    990   1521   1722 1665 1676 2407 1297 704 1094 2300 2375 2489 2606 1583 1527 2118 2308 2197 2460 2663 1524 1619 2147 2440 2495 2644 2910 1710




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             CHESAPEAKE                 246    386    375    402    367    408    218    241    317 275 223 343 439 214 188 308 411 398 431 478 275 281 435 472 394 302 540 480 305 633
             COASTAL SOUTHEAST          200    401    367    388    444    420    257    302    391 311 288 427 473 266 274 370 512 430 481 547 266 314 442 570 396 356 628 534 455 852
             ISC                          8     14     19     20     16     21     13     14     13    17    16    21    26    27    13     8    27    22    19    25    28    10    16    36    31    27    26    40    24    36
             LAKESHORES                 167    320    314    291    271    296    180    164    300 224 216 366 321 195 198 396 427 412 465 581 280 297 576 571 469 370 682 598 476 896
             MID-ATLANTIC               133    259    214    197    164    281    182    155    239 229 232 270 341 186 197 264 303 270 284 380 178 228 355 434 375 257 536 386 416 672
             MID-SOUTH                  186    186    232    216    240    241     85    174    213 184 266 286 307 122 295 279 365 346 333 368 140 366 488 473 299 397 559 424 446 767
             MIDWEST                     43     59     62     49     57     67     36     43     99    58    48    75    62    39    68 106      78    78    69 157      67    73 162 134 116 195 216 160 140 258
             NEW ENGLAND                112    107    140    132     76    125     85    108    109 111 154 149 116 106 137 136 169 150 192 304 126 210 269 276 230 269 271 218 202 404
             NEW YORK METRO              45    148    178    135    113    108     89     92    130 121 120 194 150            94    67 144 186 152 152 226 134                81 230 284 245 190 364 358 220 494
             PACIFIC NORTHWEST           16     47     67     41     71     89     23     31     63    52    36    75    67    49    45    69    91 104      63    92    46    51    90 111      86    66 107      76    63 207
             SOUTHERN CALIFORNIA         34     57     75     69     45     59     48     34     74    58    49 100      82    37    65    59    90 101      76    88    40    68    81    92 105 118 151 146            99 377
             SOUTHWEST                  119    147    193    155    146    146     82    111    110 119 104 179 154 110 142 173 237 207 176 241 118 217 306 306 263 289 350 240 276 447
             STC                        102     76    217    224    211    234    191    121     93 177 132 117 177 172 110                77 200 229 192 199 218 167                98 229 222 177 166 371 287 226
             WESTSHORE                   89    154    125    134    154    188    145    130    162 164 135 212 210 136 104 212 164 204 184 200 180 171 308 262 218 197 312 291 234 427
             Grand Total               1500   2361   2578   2453   2375   2683   1634   1720   2313 2100 2019 2814 2925 1753 1903 2601 3260 3103 3117 3886 2096 2534 3856 4250 3449 3210 4908 4322 3643 6696




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             CHESAPEAKE                 730    894    897    1003    688    616    992    1180    1221    1095    1070     765 657 1101 1230 666 1050 1269 722 693
             COASTAL SOUTHEAST          995   1004    990     986    598    576    915    1050    1072     976     941     658 619 1034 1135 1066 1053 1103 719 669
             ISC                         50     48     46      42     44     37     36      50      67      62      51      70    36    39    50    57    57    65    56    47
             LAKESHORES                1285   1360   1370    1431    898    874   1186    1497    1486    1520    1580    1014 909 1337 1575 1528 1505 1424 935 789
             MID-ATLANTIC              1035   1185   1213    1280    948    847   1079    1577    1601    1536    1577    1007 1045 1348 1729 1751 1636 1812 1138 1048
             MID-SOUTH                  984    914    944    1020    556    599    872    1068    1144    1192    1111     755 741 1067 1253 1255 1276 1235 760 684
             MIDWEST                    273    281    307     277    253    213    327     366     343     333     365     293 226 424 429 436 390 404 299 212
             NEW ENGLAND                433    670    579     673    487    464    736     817     900     950    1105     856 760 1093 1274 780 992 1429 926 881
             NEW YORK METRO             709    708    797     764    523    364    695     744     899     909     887     564 464 749 1004 433 646 1017 732 489
             PACIFIC NORTHWEST          260    295    298     310    230    159    274     307     316     379     375     245 215 324 386 465 423 487 273 240
             SOUTHERN CALIFORNIA        395    483    492     624    341    295    547     570     592     624     650     353 339 529 584 597 616 643 400 316
             SOUTHWEST                  537    551    592     613    436    439    635     737     834     777     912     540 512 728 883 837 860 855 572 495
             STC                        451    554    658     783    804    533    454     778     750     777     767     694 489 430 721 588 721 827 818 561
             WESTSHORE                  520    539    522     511    333    272    432     433     473     455     519     381 286 484 517 494 462 519 351 314
             Grand Total               8657   9486   9705   10317   7139   6288   9180   11174   11698   11585   11910    8195 7298 10687 12770 10953 11687 13089 8701 7438




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